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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT



ANTONIO HERNANDEZ                              :       Civil Action No. 22-
                                               :
                       Plaintiff,              :
                                               :
V.                                             :
                                               :
ANGEL HERRERA and                              :       August 11, 2022
PENSKE TRUCK LEASING CO.                       :
               Defendants.                     :

                                           COMPLAINT

Count One:

       1.      At all times material hereto, Plaintiff, Antonio Hernandez, is a citizen of the State

of Connecticut.

       2.      At all times material hereto, Defendant, Angel Herrera, is a citizen of the State of

New Jersey.

       3.      At all times material hereto, Defendant, Penske Truck Leasing Co., incorporated

under the laws of Pennsylvania with its principal place of business in Pennsylvania and is

licensed to do business in the State of Connecticut.

       4.      Jurisdiction in this matter is conferred upon this Court pursuant to 28 U.S.C. §

1332(a)(1) because the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs, and is between citizens of different states.

       5.      On August 17, 2020, Plaintiff was driving a 2015 Jeep Grand Cherokee in the

right hand lane of Interstate 95 in Bronx, New York in the Northbound direction.
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        6.       At that time, Defendant Angel Herrera was driving a 2018 Freightliner Box Truck

in the middle lane of Interstate 95 in Bronx, New York in the Northbound direction.

        7.       Upon information and belief, the 2018 Freightliner Box Truck was owned by

Penske Truck Leasing, Co.

        8.       At that time and place, Defendant Herrera suddenly changed lanes, crossing the

white line into Plaintiff’s lane crashing into Plaintiff’s vehicle.

        9.       The injuries and losses sustained by the Plaintiff were caused by the negligence of

Defendant Herrera in one or more of the following respects:

              a. in that he was operating his vehicle in violation of motor vehicle safety laws;

              b. in that he improperly and erratically changed lanes;

              c. in that he failed to keep a proper and reasonable look out for other vehicles on the

                 highway;

              d. in that he failed to keep his vehicle under reasonable and proper control;

              e. in that he failed to take evasive action to avoid the collision.

        10.      As a result of Defendant Herrera’s actions as alleged, Plaintiff sustained severe,

painful, and permanent injuries. He sustained low back pain and muscle weakness, nerve

damage, and whiplash among other injuries. Damages from his injuries are ongoing.

        11.      Plaintiff was required to spend money for emergency medical treatment,

diagnostic imaging, hospital care, physical therapy, drugs and medicines, and will incur further

such medical expenses in the future. His damages are continuing to accrue.

        12.      Plaintiff’s ability to carry on life’s activities and to enjoy them to the fullest has

been impaired, and will be impaired in the future and will be permanently impaired.

        13.



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       Count Two:

       13. The allegations of Paragraphs 1 - 12 of the First Count of the Complaint are

incorporated herein by reference as if fully alleged herein.

       14.      At all times relevant herein, Defendant Herrera, was operating his vehicle with the

consent of, and as the authorized, actual, or apparent agent, and/or employee of Defendant

Penske Truck Leasing Co.


       15.      At all times relevant herein, the Defendant, Penske Truck Leasing Co., by and

through its authorized, actual or apparent agent, had a duty to exercise a reasonable degree of

care and caution in the operation, management and control of said motor vehicle in such a

manner as not to carelessly and negligently cause injury to persons or property rightfully and

lawfully upon the public way.


       16.      Penske Truck Leasing Co. has a duty of care to exercise reasonable caution and

prudence on the interstate.


       17.      In breach of his duty of care, the Defendant, Penske Truck Leasing Co., by and

through its agent, the Defendant Angel Herrera, was guilty of one or more of the following

negligent acts or omissions:


             a. in that he was operating his vehicle in violation of motor vehicle safety laws;

             b. in that he improperly and erratically changed lanes;

             c. in that he failed to keep a proper and reasonable look out for other vehicles on the

                highway;

             d. in that he failed to keep his vehicle under reasonable and proper control;

             e. in that he failed to take evasive action to avoid the collision; and


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              f) failed to exercise that degree of care which a reasonable and prudent person

                 would have exercised under the same or similar circumstances.


              g) Carelessly and negligently gave the possession and use of a motor vehicle

                 into the care and custody of the Defendant, Angel Herrera, knowing

                 that his ability and reliability to drive the vehicle was such that he was placing

                 a careless, negligent and unsafe driver upon the streets when it knew or, in the

                 exercise of ordinary care, should have known that he might or could cause

                 injury to other persons and property rightfully and lawfully upon the public

                 way; and


                 h) was otherwise careless and negligent.


        18.      As a direct and proximate result of one or more of the foregoing negligent acts or

omissions of Defendant, Penske Truck Leasing Co., Plaintiff Antonio Hernandez, sustained

serious and permanent injuries and as a result of suffering said injuries, Plaintiff has incurred and

may continue to incur expenses for medical care, treatment and other related expenses for

treatment of his injuries, all to his financial loss.


        19.      As a result of having sustained the injuries, Plaintiff has been caused to suffer and

will continue to suffer an overall physical discomfort which imposes restrictions on his ability to

enjoy all of life’s activities.

        20.      As a further result of the negligence and carelessness of the defendant, Penske

Truck Leasing Co., the plaintiff is suffering and will continue to suffer from pain, discomfort,

soreness, emotional distress, post-traumatic stress, limitation of motion, and restriction of

activity.


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        WHEREFORE, Plaintiff claims:

        1.      Compensatory damages in the amount of Two Hundred and Fifty Thousand

Dollars ($250,000.00);

        2.      Costs; and

        2.      Such other and further relief as may apply at law or equity.

                                               Jury Demand

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff requests a trial by
jury.

                Hereof, fail, not, but make due service and return.

                Dated at Danbury, Connecticut, this 11th day of August 2022

                                              THE PLAINTIFF
                                              ANTONIO HERNANDEZ


                                       By:    /s/ Candace V. Fay________________
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